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                         UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                               MEMPHIS DIVISION

TIKEILA RUCKER, et al.
                              Plaintiffs,
                                                       Case No. 2:23-cv-2358
              v.

 SHELBY COUNTY BOARD OF
 EDUCATION, et al.
                   Defendants.

______________________________________________________________________________

                   STANDARD TRACK SCHEDULING ORDER
______________________________________________________________________________

       Pursuant to Local Rule 16.2, a scheduling conference was held on August 1, 2023.
Present were Benjamin A. Gastel, Alyson Beridon, and Scott Kramer as counsel for plaintiff, and
Andrew Horvath and Robert L. Spence, Jr. as counsel for defendant. Prior to the scheduling
conference, on July 11, 2023, Andrew Horvath and Benjamin Gastel met and conferred in
compliance with Federal Rule of Civil Procedure 26(f).

       The following dates are established as the final deadlines for:

INITIAL DISCLOSURES PURSUANT TO FED. R. CIV. P. 26(a)(1): August 15, 2023

MOTIONS TO JOIN PARTIES: October 2, 2023

MOTIONS TO AMEND PLEADINGS: October 2, 2023

MOTIONS TO DISMISS: November 3, 2023

ALTERNATIVE DISPUTE RESOLUTION:

       (a) ADR DEADLINE PURSUANT TO ADR PLAN RULE 4.3(a): October 24, 2023

       (b) SELECTION OF MEDIATOR PURSUANT TO ADR PLAN RULE 5.4(c):

              Mediator's Name: [insert name of mediator]
              Stipulation Filing Date: [insert date of filing of stipulation of selection of
              mediator]
                     (If the parties fail to agree upon a Mediator before or during the Rule 16
                     scheduling conference, the Court shall select a Mediator for the case from


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                      the Court’s Mediator list and shall issue an Order notifying the parties of
                      the Mediator’s identity)

COMPLETING ALL DISCOVERY: April 30, 2024

   (a) WRITTEN DISCOVERY: March 29, 2024
   (b) DEPOSITIONS: April 30, 2024

EXPERT WITNESS DISCLOSURES PURSUANT TO FED. R. CIV. P. 26(a)(2):

   (a) DISCLOSURE OF PLAINTIFF’S (OR PARTY WITH BURDEN OF PROOF)
       RULE 26(a)(2) EXPERT INFORMATION: February 27, 2024
   (b) DISCLOSURE OF DEFENDANT’S (OR OPPOSING PARTY) RULE 26(a)(2)
       EXPERT INFORMATION: March 29, 2024
   (c) EXPERT WITNESS DEPOSITIONS: April 30, 2024

MOTIONS TO EXCLUDE EXPERTS UNDER F.R.E. 702/DAUBERT MOTIONS:
May 15, 2024

SUPPLEMENTATION UNDER RULE 26(e)(1): April 30, 2024

FILING DISPOSITIVE MOTIONS: May 31, 2024

JOINT PROPOSED PRETRIAL ORDER DUE: ________________

PRETRIAL CONFERENCE DATE: ________________

NON-JURY TRIAL: _____________,20__ at 9:30 a.m. Trial is anticipated to last
approximately 2-3 days.

       The parties do not consent to trial before the Magistrate Judge.

OTHER RELEVANT MATTERS:

        As required by Local Rule 26.1(e), the parties have conferred as to whether they will seek
discovery of electronically stored information (“e-discovery”) and have not reached an
agreement regarding e-discovery and will comply with the default standards described in Local
Rule 26.1(e) until such time, if ever, the parties reach an agreement and the Court approves the
parties’ e-discovery plan.

       No depositions may be scheduled to occur after the discovery deadline. All discovery
requests or other discovery-related filings that require a response must be filed sufficiently in
advance of the discovery deadline to enable the opposing party to respond by the time permitted
by the Rules prior to that date.




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        Motions to compel discovery are to be filed and served within 45 days of the default or
service of the response, answer, or objection that is the subject of the motion. However, if such
default or service occurs within 30 days before the discovery deadline, the motion to compel
must be filed within 30 days after such default or service.

       This case is set for a non-jury trial. The pretrial order deadline, pretrial conference date,
and trial date will be set by separate Order. The parties anticipate the trial will last
approximately 2-3 days.

        The parties are ordered to engage in ADR by the ADR deadline. Pursuant to Local Rule
16.3(d), within 7 days of completion of ADR, the parties shall file a notice confirming that the
ADR was conducted and indicating whether it was successful or unsuccessful, without disclosing
the parties’ respective positions at the ADR.

        Pursuant to Local Rule 7.2(a)(1)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60, shall be accompanied by a proposed order in a word processing format sent
to the ECF mailbox of the presiding judge.

       Pursuant to Local Rule 7.2(a)(1)(B), the parties are required to consult prior to filing any
motion (except motions filed pursuant to Fed. R. Civ. P. 12, 56, 59, and 60).

        The opposing party must file a response to any opposed motion. Pursuant to Local Rule
7.2(a)(2), a party’s failure to respond timely to any motion, other than one requesting dismissal
of a claim or action, may be deemed good grounds for granting the motion.

       Neither party may file an additional reply to any motion, other than a motion filed
pursuant to Fed. R. Civ. P. 12(b) or 56. As provided by Local Rule 7.2(c), if a party believes that
a reply is necessary, it shall file a motion for leave to file a reply accompanied by a
memorandum setting forth the reasons for which a reply is required within seven days of service
of the response. Pursuant to Local Rules 12.1(c) and 56.1(c), a party moving for summary
judgment or to dismiss may file a reply within 14 days after being served with the response in
opposition to the motion.

      This order has been entered after consultation with the parties. Absent good cause
shown, the deadlines set by this order will not be modified or extended.

       IT IS SO ORDERED, this ___ day of ______________, 20__.


                                              ___________________________________
                                              SHERYL H. LIPMAN
                                              UNITED STATES DISTRICT JUDGE




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